UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA,
                                                                  16-CR-403 (GRB)
                -vs-
                                                                  NOTICE OF MOTION
ALEXI SAENZ,

                           Defendant.
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        PLEASE TAKE NOTICE that, based on the reasons and authorities set forth in the

previously filed sealed submissions made by the defense and the government, Defendant Alexi

Saenz moves this Court, to conduct a sealed hearing in connection with the above-captioned case.

Undersigned counsel have conferred with counsel for the government, who consent to this motion.

Dated: Brooklyn, New York
       June 17, 2025

Respectfully submitted,

/s/ Natali Todd                                         /s/ Victor J. Abreu
NATALI TODD                                             /s/ Peter Williams
Law Offices of Natali J.H. Todd, P.C.                   /s/ Anna K. Christensen
26 Court Street, Suite 413                              VICTOR J. ABREU
Brooklyn, NY 11242                                      PETER WILLIAMS
Tel.: 718-797-3055                                      ANNA K. CHRISTENSEN
                                                        Federal Community Defender Office
                                                        for the Eastern District of Pennsylvania
                                                        601 Walnut Street, Suite 540W
                                                        Philadelphia, PA 19106
                                                        Tel.: 215-928-1100

                                                        Counsel for Alexi Saenz
                                 CERTIFICATE OF SERVICE

       I, Peter Williams, hereby certify that on this date I caused the foregoing to be served on

the parties of record via ECF.

                                                             /s/ Peter Williams
                                                             Peter Williams

Dated: June 17, 2025
